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                     IN THE IN THE UNITES STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

GARY SHELTON, FRANKLIN D.                    §
BELZ, TERRY L. BOLEY, PAUL R.                §
NEWTON, TOMMY R. JOHNSON,                    §
UTAH ROGERS, and RANDY                       §
HARDIN,                                      §
           Plaintiffs,                       §       C.A. No. 3:12-CV-01227-M
                                             §
v.                                           §
                                             §
BNSF RAILWAY COMPANY                         §
          Defendant.                         §

     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO ALL PLAINTIFFS

        Plaintiff Randy Hardin claim were previously dismissed by Plaintiff’s notice filed May 18,

2012 prior to Defendant’s Answer.

         All remaining Plaintiffs: Gary Shelton, Franklin D. Belz, Terry L. Boley, Paul R. Newton,

Tommy R. Johnson, and Utah Rogers; and Defendant, BNSF Railway Company being all the

parties, file this joint stipulation of dismissal with prejudice under Federal Rule of Civil Procedure

41(a)(1)(A)(ii).

        1.     Plaintiffs are Gary Shelton, Franklin D. Belz, Terry L. Boley, Paul R. Newton,

Tommy R. Johnson, and Utah Rogers. Defendant is BNSF Railway Company.                  Plaintiffs sued

Defendant for alleged toxic exposure.

        2.     Plaintiffs move to dismiss the suit against Defendant.

        3.     Defendant agrees to the dismissal.

        4.     This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

        5.     A receiver has not been appointed in this case.



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       6.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       7.      The remaining Plaintiffs have not previously dismissed any federal- or state-court

suit based on or including the same claims as those presented in this case.

       8.      This dismissal is with prejudice with the parties to bear their own costs incurred.

                                             Respectfully Submitted,

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